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                      EXHIBIT 4C
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                        Compensation Framework for Business Economic Loss Claims

 The compensation framework for business claimants compares the actual profit of a business during a
 defined post-spill period in 2010 to the profit that the claimant might have expected to earn in the
 comparable post-spill period of 2010.1 The calculation is divided into two steps:

         Step 1 – Compensates claimants for any reduction in profit between the 2010 Compensation
         Period selected by the claimant and the comparable months of the Benchmark Period. Step 1
         compensation reflects the reduction in Variable Profit (which reflects the claimant’s revenue
         less its variable costs) over this period.

         Step 2 – Compensates claimants for incremental profits or losses the claimant might have been
         expected to generate in the absence of the spill relative to sales from the Benchmark Period.
         This calculation reflects a Claimant-Specific Factor that captures growth or decline in the pre-
         spill months of 2010 compared to the comparable months of the Benchmark Period and a
         General Adjustment Factor.

 For purposes of the two step calculation, the parties have agreed to a defined list of fixed and variable
 expenses as reflected in Attachment A.

 In order to allocate payroll expenses (including Salaries and Wages, Employee Benefits, and, where
 applicable, 401K Payments, but excluding Owner/Officer Compensation) into fixed and variable
 components, a minimum level of fixed payroll costs will be measured based on the average of the two
 months between May 2010 and December 2010 in which the claimant had its lowest payroll costs.
 Certain exceptions are identified below for identifying months with the claimant’s lowest payroll costs.

 For claimants that include Cost of Goods Sold (COGS) in their financial statements, COGS will be treated
 as a variable expense after excluding, to the extent possible, the following cost items which may be
 embedded in COGS and are likely to be fixed in nature: Fixed COGS Payroll, Amortization, Depreciation,
 Insurance Expense, Interest Expense, and Contract Services.

 Based on these considerations, the resulting calculations are performed to determine compensation for
 claimants.

I.   Definitions

 For the purposes of this calculation, the following are defined terms:

 Compensation Period: The Compensation Period is selected by the Claimant to include three or more
 consecutive months between May and December 2010.

 Benchmark Period: The Benchmark Period is the pre-DWH Spill time period which claimant chooses as
 the baseline for measuring its historical financial performance. The claimant can select among the

 1
  This Compensation Framework for Business Claims does not apply to (i) start-up businesses and (ii) failed
 businesses. Compensation frameworks for these types of businesses will be presented separately.
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following Benchmark Periods: 2009; the average of 2008-2009; or the average of 2007-2009, provided
that the range of years selected by the claimant will be utilized for all Benchmark Period purposes.

Claimant-Specific Factor: In order to capture the impact of pre-DWH Spill trends in the claimant’s
revenue performance that might have been expected in the post-DWH Spill Benchmark Period, revenue
will be adjusted by a Claimant-Specific Factor. The following steps will be used to compute the
Claimant-Specific Factor:

            A. Calculate the difference between claimant’s total revenue for January through April
               2010 and total revenue in January through April of the corresponding claimant –
               selected Benchmark Period.

            B. Divide the revenue change calculated in Step A by total revenue in January through April
               of the Benchmark Period to derive the Claimant-Specific Factor. If the calculated
               Claimant-Specific Factor falls below -2% or exceeds +10%, then it will be set at -2% or
               +10%, respectively.

General Adjustment Factor: In addition to the Claimant-Specific factor, all Claimants shall be entitled to
a 2.0% General Adjustment Factor.

Variable Profit: This is calculated for both the Benchmark Period and the Compensation Period as
follows:

    1. Sum the monthly revenue over the period.
    2. Subtract the corresponding variable expenses from revenue over the same time period.
       Variable expenses include:
       a. Variable Costs as identified in Attachment A.
       b. Variable portion of salaries, calculated as described below in the definition of Fixed and
           Variable Payroll Expenses.
       c. Variable portion of COGS, calculated by excluding salary costs (which are discussed below in
           the definition of Fixed and Variable Payroll Expenses) and fixed expenses included within
           COGS, including Amortization, Depreciation, Insurance Expense, and Interest Expense and
           Contract Services.

Variable Margin: This is calculated only for the Benchmark Period and is calculated as follows:

        1. Sum Variable Profit from May through December of the years selected by the claimant to be
           used for the Benchmark Period.
        2. Sum total revenue from May through December of the years selected by the claimant to be
           used for the Benchmark Period.
        3. Calculate Variable Margin percent as Variable Profit calculated in (1) divided by total
           revenue calculated in (2).

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  Fixed and Variable Payroll Expenses: Fixed and Variable Payroll Expenses are calculated based on the
  understanding that every business must operate with a minimum core staff and are defined using
  monthly profit and loss statements and/or those documents listed in the Documentation Requirements
  for Business Claims, for May through December 2010. Fixed and Variable Payroll expenses are
  calculated as follows:

          1. Obtain monthly amounts for the following payroll expenses (excluding Owner/Officer
             Compensation): (a) Salaries & wages; (b) Payroll taxes (including FICA, workers compensation
             insurance, unemployment tax); (c) Employer costs for employee benefits. Calculations include
             components of salaries and related expenses included in both Selling, General & Administrative
             Expenses (“SG&A”) and COGS.
          2. Sum these payroll expenses on a monthly basis to determine the Total Payroll Expense for each
             month.
          3. Identify the two months between May and December 2010 with the lowest Total Payroll
             Expense.
                 • Months in which the claimant has zero revenue, zero non-officer payroll expenses, or
                      the business is closed, will be excluded from this calculation.
          4. Define “Fixed Payroll Expenses” as the average payroll expense over the two months with the
             lowest Total Payroll Expense.
          5. For any month with Total Payroll Expenses less than Fixed Payroll Expenses, all payroll costs will
             be considered fixed expenses.
          6. For any month with Total Payroll Expenses greater than Fixed Payroll Expenses, the excess
             amount of Total Payroll Expenses will be considered variable expenses.

  Incremental Revenue: Incremental revenue shall be calculated as (i) the claimant’s revenue in a
  claimant-selected period of six, seven or eight consecutive months (as set forth in Step 2 below)
  between May and December of the years selected by the claimant to be included in the Benchmark
  Period, multiplied by (ii) the Claimant-Specific Factor and the General Adjustment Factor.


II.       Description of Compensation Calculation

  Step 1 Compensation

      Step 1 of the compensation calculation is determined as the difference in Variable Profit between the
      2010 Compensation Period selected by the claimant and the Variable Profit over the comparable
      months of the Benchmark Period.

      As noted above, the Compensation Period is selected by the Claimant to include three or more
      consecutive months between May and December 2010.




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For claimants that participated in the VoO program, Variable Profit in the Compensation Period will
exclude revenue generated by or costs incurred in connection with VoO.2

Step 2 Compensation

Step 2 of the Compensation Calculation for Business Economic Loss Claims is intended to compensate
claimants for incremental profits the claimant might have been expected to generate in 2010 in the
absence of the spill, based on the claimant’s growth in revenue in January-April of 2010 relative to the
claimant-selected Benchmark Period (2009 or (average of 2008 and 2009) or (average of 2007, 2008 and
2009)).

Calculation:

Using monthly profit and loss statements and/or those documents listed in the Documentation
Requirements for Business Claims:

    1. Claimant may select from the following six-consecutive month periods for calculating
       Step 2 Compensation:
           a. May-October
           b. June-November
           c. July-December
       Unless claimant chose a seven-consecutive-month or eight-consecutive-month period in
       Step 1, in which case that same period of identical consecutive months in 2010 shall be
       used for Step 2.
    2. Calculate the Claimant-Specific Factor:
           a. Calculate the difference between claimant’s total revenue for January through April
                2010 and total revenue in January through April of the Benchmark Period.
           b. Divide the revenue change calculated in [2.a] by total revenue in January through April
                of the Benchmark Period to derive the Claimant-Specific Factor. If the calculated
                Claimant-Specific Factor falls below -2% or exceeds +10%, then it will be set at -2% or
                +10%, respectively.
    3. Calculate Incremental Revenue:
           a. Calculate total revenue in the consecutive months of the Benchmark Period selected in
                [1] above.
           b. Multiply total revenue by the sum of the Claimant-Specific Factor and the General
                Adjustment Factor of 2% to calculate Incremental Revenue.
    4. Multiply Incremental Revenue by the Variable Margin in the Benchmark Period to calculate Step
       2 Compensation.



2
 Claimants are required to report payments received under the VoO program. If claimants that received VoO
payments fail separately to report costs incurred in VoO and non-VoO activities, then Step 1 Compensation for
non-VoO activity alone can be determined through a pro-rata revenue based allocation of variable costs between
VoO and non-VoO related activities.
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Example 1:
In this example, the claimant selects June-November as the six-consecutive month period in the
Benchmark Period to calculate Step 2 Compensation:

           June-November Revenue in the Benchmark Period       [a]                   $200,000
           Claimant-Specific Factor                            [b]                         8%
           General Adjustment Factor                           [c]                         2%
           Incremental Revenue                                 [d] = [a]*([b]+[c])    $20,000
           Variable Margin Percentage                          [e]                       50%
           Step 2 Compensation                                 [f] = [d]*[e]          $10,000


Example 2:
In this example, the claimant selected June-December as the seven-consecutive month Compensation
Period in Step 1 and therefore must use the same period of identical consecutive months in the
Benchmark Period to calculate Step 2 Compensation:

           June-December Revenue in the Benchmark Period       [a]                   $220,000
           Claimant-Specific Factor                            [b]                         8%
           General Adjustment Factor                           [c]                         2%
           Incremental Revenue                                 [d] = [a]*([b]+[c])    $22,000
           Variable Margin Percentage                          [e]                       50%
           Step 2 Compensation                                 [f] = [d]*[e]          $11,000


Total Compensation

Total Compensation is calculated as follows:

(1)      Add Step 1 Compensation to Step 2 Compensation.

(2)      Apply the agreed-upon Risk Transfer Premium (RTP).

(3)      Where applicable, subtract from the sum of Step 1 Compensation and Step 2 Compensation any
         payments received by the claimant from BP or the GCCF pursuant to BP’s OPA claims process, as
         well as any VoO Settlement Payment Offset and VoO Earned Income Offset.




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                                          Addendum To
                   Causation Requirements For Business Economic Loss Claims and
                    Compensation Framework for Business Economic Loss Claims

       The term “Benchmark Period” is defined at pp. 1-2 in the Compensation Framework for
Business Economic Loss Claims (Ex. 4C). That definition provides:

               The Benchmark Period is the pre-DWH Spill time period which claimant
               chooses as the baseline for measuring its historical financial
               performance. The claimant can select among the following Benchmark
               Periods: 2009; the average of 2008-2009; or the average of 2007-2009,
               provided that the range of years selected by the claimant will be utilized
               for all Benchmark Period purposes.

Footnote 2 of the Causation Requirements For Business Economic Loss Claims (Ex. 4B) specifically
incorporates that definition of Benchmark Period by reference.

        Accordingly, once the claimant selects the Benchmark Period year(s) (2009, the average of 2008-
2009, or the average of 2007-2009), the same Benchmark Period year(s) are used “for all Benchmark
Period purposes” -- specifically, the same Benchmark Period year(s) are used for purposes of
determining both causation and compensation.

       In contrast, a claimant is not required to use the same months in the Benchmark Period for
purposes of establishing causation pursuant to Ex. 4B and determining compensation pursuant to Ex. 4C.

        For example, when evaluating whether a claimant can satisfy causation using the “V Test,” the
claimant may select any consecutive 3-month period between May and December 2010 for comparison
to a comparable period in the Benchmark Period (i.e., 2009, the average of 2008-2009, or the average of
2007-2009). After establishing causation, however, the claimant may select a different 3 or more
consecutive months between May and December 2010 in determining compensation in accordance with
the Compensation Framework for Business Economic Loss Claims, so long as the claimant uses the
same Benchmark Period years as the basis for comparison. Thus, if the claimant selected for causation
the three months of May - July in the Benchmark Period years of the average of 2008-2009, the claimant
can select for compensation different months -- e.g., August - October -- but must use the same average
of 2008-2009 Benchmark Period. The same Benchmark Period year(s) thus must be used both for
causation (Ex. 4B) and compensation (Ex. 4C).

       The additional examples on the next page illustrate these rules:




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Scenario 1:

   1) Claimant selected the months of May-July 2010 for the purpose of determining causation, and
      the claimant, using these months, meets the causation test for the Benchmark period years of
      2009, 2008-2009 and 2007-2009;
   2) In determining Compensation, Claimant would be allowed to select the months of August
      through November 2010 as compared to the months of August through November in either
      2009, 2008-2009 or 2007-2009 as the Benchmark years – whichever provides the highest
      compensation.

Scenario 2:

       1) Claimant selected the months of October – December 2010 for the purpose of determining
          causation and the claimant, using these months, meets the causation test for the
          Benchmark period years of 2009, 2008-2009;
       2) In determining compensation, Claimant could select the months of May-September 2010 as
          compared to the months of May-September in either 2009 or 2008-2009 – whichever
          provides the highest compensation.

Scenario 3:

       1) Claimant selected the months of June – August 2010 for the purpose of determining
          causation and the claimant, using these months, meets the causation test for the
          Benchmark period year of 2009. In addition, Claimant selected the months of August –
          October 2010 for the purpose of determining causation, and the claimant, using these
          months, meets the causation test for the Benchmark period years of 2007-2009;
       2) In determining compensation, Claimant could select the months of May-December 2010 as
          compared to the months of May-December in either 2009 or 2007-2009 – whichever
          provides the highest compensation.




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